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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-204-TLN
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER
14   JEFFREY S. GRADY,                                    DATE: August 30, 2018
                                                          TIME: 9:30 a.m.
15                                 Defendant.             COURT: Hon. Troy L. Nunley
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on August 30, 2018.

21          2.       By this stipulation, defendant now moves to continue the status conference until

22 September 27, 2018, at 9:30 a.m., and to exclude time between August 30, 2018, and September 27,

23 2018, under Local Code T4.

24          3.       The parties agree and stipulate, and request that the Court find the following:

25                   a)     The government has represented that the discovery associated with this case

26          includes 2,335 pages of discovery including a spreadsheet of tax return information. All of this

27          discovery has been either produced directly to counsel and/or made available for inspection and

28          copying.


      STIPULATION REGARDING EXCLUDABLE TIME               1
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 1                   b)     Counsel for defendant desires additional time to review the discovery with her

 2          client and evaluate the case including potential resolution.

 3                   c)     Counsel for defendant believes that failure to grant the above-requested

 4          continuance would deny her the reasonable time necessary for effective preparation, taking into

 5          account the exercise of due diligence.

 6                   d)     The government does not object to the continuance.

 7                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of August 30, 2018 to September 27,

12          2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendant in a speedy trial.

16          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

20

21
      Dated: August 29, 2018                                   MCGREGOR W. SCOTT
22                                                             United States Attorney
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                                                               /s/ MATTHEW G. MORRIS
24                                                             MATTHEW G. MORRIS
                                                               Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME                2
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     Dated: August 29, 2018                         /s/ TASHA P. CHALFANT
 1                                                  TASHA P. CHALFANT
                                                    Counsel for Defendant
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                                                    JEFFREY S. GRADY
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 6                                      FINDINGS AND ORDER

 7        IT IS SO FOUND AND ORDERED this 29th day of August, 2018.

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11                                                   Troy L. Nunley
12                                                   United States District Judge

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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
